Case 2:12-cr-00121-FVS   ECF No. 175   filed 10/31/13   PageID.730 Page 1 of 6
Case 2:12-cr-00121-FVS   ECF No. 175   filed 10/31/13   PageID.731 Page 2 of 6
Case 2:12-cr-00121-FVS   ECF No. 175   filed 10/31/13   PageID.732 Page 3 of 6
Case 2:12-cr-00121-FVS   ECF No. 175   filed 10/31/13   PageID.733 Page 4 of 6
Case 2:12-cr-00121-FVS   ECF No. 175   filed 10/31/13   PageID.734 Page 5 of 6
Case 2:12-cr-00121-FVS   ECF No. 175   filed 10/31/13   PageID.735 Page 6 of 6
